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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )           8:05CR220
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
FRANCIS SCHRAM,                                    )
LUCILLE ERISMAN, and                               )
DONALD BROWN,                                      )
                                                   )
                     Defendants.                   )


       This matter is before the court on the motions for an extension of time by defendant
Francis Schram (Schram) (Filing No. 17) and defendant Lucille Erisman (Erisman) (Filing No.
18) . The defendants seek an extension of time of thirty days in which to file pretrial motions
pursuant to paragraph 3 of the progression order (Filing No. 12) and for a continuance of the
trial setting. Defense counsel represents to the court that counsel for the government has no
objection to the extension. The defendants have submitted affidavits in accordance with
paragraph 9 of the progression order whereby they consent to the motion and acknowledge
they understands the additional time may be excludable time for the purposes of the Speedy
Trial Act. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Defendant Schram's motion for an extension of time (Filing No. 17) and
defendant Erisman's motion for an extension of time (Filing No. 18) are granted. All
defendants are given until on or before July 29, 2005, in which to file pretrial motions
pursuant to the progression order (Filing No. 12). The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a speedy
trial. The additional time arising as a result of the granting of the motion, i.e., the time
between June 29, 2005 and July 29, 2005, shall be deemed excludable time in any
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computation of time under the requirement of the Speedy Trial Act for the reason defendants'
counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       2.      The tentative setting of an evidentiary hearing for 9:00 a.m. on July 14, 2005,
is canceled and will be re-scheduled in the event any pretrial motions are filed in accordance
with this order.
       3.      The trial setting of August 1, 2005, is canceled and will be rescheduled
following the disposition of any pretrial motions or the expiration of the pretrial motion deadline
set forth above.
       DATED this 29th day of June, 2005.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
